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svroneve ron____Defendants ms ii tent”

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA —

SOUTHERN DIVISION

UNITED STATES OF AMERICA, }
-. 2 NO, 1247-SD-c
Plaintiff,

-vs- _ ) CLAIM OF GARNER L. KNOX, ET AL,
FALLBROOK PUBLIC UTILITY DISTRICT, ) MEMORANDUM TO COURT ON ORDER
KNOW, Garner. L. and Flora S, and : .
Walter G., ) “TO SHOW CAUSE.
ET AL.,

Defendants.

TO THE HONORABLE JAMES M, CARTER, JUDGE OF THE UNITED STATES
DISTRICT COURT AND TO J, LEE RANKIN, SOLICITOR GENERAL FOR THE
UNITED STATES OF AMERICA, PLAINTIFF HEREIN: |

‘The defendants, GARNER L. KNOX, et al., in response to the
Order to Show Cause for a hearing on March 14, 1961, respectfully
submit this memorandum of their position to assist.the Court in

the premises,

I
The defendant, GARNER L. KNOX, desires to present evidence
in support of the rights established in the answer on behalf of
himself and the other defendants appearing with him. Said defendant
will ask leave of Court to testify as to matters observed by him
in relation to the water rights and use thereof, and will further

ask leave of Court to testify as to matters of common history as

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for storage of water for domestic use and other incidental uses.

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to past use and water rights on said premises,’ Said witness does
not claim to be an expert in the matter of engineering. In the even
the Court desires further evidence, the defendant will ask leave
of Court to retain an engineer and to present expert testimony as
needed.
Ir
PRESENT USES
(a) Domestic use to three houses,
(b) Incidental truck gardening therefor,
(c) Approximately 70 acres of permanent pasture utilized
for the grazing of approximately 140 head of cattle the year around.
(da) Approximately 30 acres of winter grain crops which are
irrigated,
TIt
PRESENT WATER FACILITIES

(a) There is a headworks approximately one-half mile upstream
and a ditch and pipes running therefrom, which carry water to
defendants! lands, among others.

- (bv). There are two lakes on the premises utilized for the
storage of water and storage with a maximum capacity of approximately
10.8 feet. CS

(ce) There is a well equipped with 5 H.P. motor, capable of
pumping 1/3 acre foot of water per day. / : .

(a4) There is a storage tank approximately 6'x8'x5' utilized

thereto.

_(e)' There is a well drilled in 1953 equipped with a 15 H.P.
motor and pump and capable of producing approximately 250 gallons
per. minute, oo,

(f) There is a third well drilled in 1959, approximately
one-third mile to the west of the well immediately mentioned herein-
above and capable of producing approximately 90 inches of water in

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a 8 Case 3:51-cy-01247-JO-SBC Document 4244 Filed 03/14/61 PagelD.15453 Page dof 5:
v ’
1i| a twenty-four hour period when equipped with ae 25 LP. motor and
2|| pump. . . a
3 '(g) There is a system of pipes for distribution of
4|| the water either by flood or sprinkler type irrigation for the
5 uses above stated on various portions of the ranch.
;
7 Iv
3 BRIEF HISTORY
9 A brief history of the water development on’ the ranch
10 indicates that the headworks for diversion of water upstream from
11 | the ranch were built shortly after the turn of the century. There
12|| Was, at or about that time, a 30-acre peach orchard on the premises,
z 13 The pipeline is belteved to have originally been, a corrugated iron —
e 14 line. In the floods of 1923-1924 the peach orchard was washed out
zZ 15|| 48 was the line. The replacement of the line was with a steel
48 16 pipeline and ditches, . hese have been in use at all times
z 17 since.
é 18 ‘The first well (5 HP. motor) was originally installed
i 19), with a windmill and is believed to have been in use since approxi-
. 20 mately 1924, The lakes are believed to have been in use since
21}| approximately 1924. ‘Nie lulien ave welLaved to nave been dnataliod
22! aired were in operation at all Gdiucs sdnee ayo, “They are used as
23|} a part of the irrigation system, The windmill was used for a
24 reproduction of water for domestic use, for, watering of cattle in
e5|| dry periods, and on some occasions for production of water into the
26}| lakes for use in the irrigation system, The installation of the
e271 5 HP. motor was approximately in 1949,
28 The second well was built in order to supplement the stream
29|| flow which -lessened remarkably in the years 1950 and thereafter.
20/1) The well drilled in 1959 was an effort to maintain the production
31 |} from the second well which appeared to need substantial repairs.
32 The drilling of the third well was intended. to maintain the
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1|| production previously reached from the second well and not to
2|| increase the production of water on the premises, . The production
3// of said second and third wells is now utilized as an equivalent
4\| of the production of the second well in the period from 1953 to
5|| 1959. .
6 Vv
7 REQUEST AND CONTENTIONS
8 . mt 7 : .
9 , The request and contentions of these defendants are submitted
respectfully to the Court with the express acknowledgment that
10 ow _
11 neither the defendants nor counsel have had the benefit of a full
12 and complete engineering study either on the subject property nor on
2 3 the matter of available water in the area. These defendants
zZ
2 14 contend that the stream flow 1s composed of two parts, one, the
i : : / oo .
zZ 15 surface flow and the second, a percolating underflow, They further
uf 16 contend that the prior owners and these defendants have utilized
= . :
z 5 17 this surface flow and underflow for the benefit of the subject
u vt
gi 18 property. That the reasonable beneficial use thereof and consistent
wW on
5 19 with prior use of the property is for the following:
20 (a) The right to divert waters upstream of the
21 property. -
22 (b) The right to store water in the lakes.
23 (c) Domestic use for three residence units on the
24 property. a,
25 (ad) Sufficient-water for approximately 70 acres of
26 irrigated pasture on a year around basis (approximately 209 acre
27 feet per year), yk!
28 (e) Sufficient water for the irrigating of 30 acres
29 of winter wheat. i.
30 (f) The right to take such reasonable and beneficial
31 use either from the surface flow of the stream, when available,
32
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or from the underflow of said stream in times when, the surface

flow is insufficient,
DATED: March 13, 1961.

Respectfully/spbmitted,
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L, AAC MIR
Ak . | fi ’ JR... ‘
/ Attorney for Defendants

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